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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-2334

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    U.S. Attorney's Office for the District of Columbia
 was received by me on (date)                     08/22/2022          .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

          ✔
          ’ Other (specify):       Summons sent via Certified U.S. Mail, Return Receipt Requested August 22, 2022.

                                   Return Receipt dated August 29, 2022.                                                                   .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          09/14/2022                                                             /s/ Adam T. Wingard
                                                                                            Server’s signature

                                                                               Adam T. Wingard, Senior Paralegal
                                                                                        Printed name and title

                                                                                  Morgan, Lewis & Bockius LLP
                                                                                 1111 Pennsylvania Avenue, NW
                                                                                     Washington, DC 20004
                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                                              District of Columbia
                                              601 D Street, NW
                                              Washington, DC 20530
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SENDER: COMPLETE THIS SECTION                               COMPLETE THIS SECTION ON DELIVERY

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  so that we can return the card to you.
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  or on the front If space permits.           •
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Washington, DC 20530
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                                                08/22/22 Page 4
                                                              3 of 4




8/22/2022                                         /s/ Nicole M. Wilkens
